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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 10-cr-45-01/02-SM

Andrew B. Gray, Jr. and
Thomas E. Pelkey

                                    ORDER

      Defendant Gray’s motion to continue the final pretrial conference and trial

is granted (document 28). Trial has been rescheduled for the March 2011 trial

period. Defendant Gray shall file a waiver of speedy trial rights not later than

February 14, 2011. On the filing of such waiver, his continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference:      March 9, 2011 at 11:30 a.m.

      Jury Selection: March 22, 2011 at 9:30 a.m.
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      SO ORDERED.




                                  y___ teven J . McAuliffe
                                  * Chief Judge

February 4, 2011

cc:   Mark Sisti, Esq.
      Sven Wiberg, Esq.
      Clyde R.W. Garrigan, AUSA
      US Probation
      US Marshal




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